Case 2:22-cv-01153-FWS-PVC Document 74-2 Filed 05/11/23 Page 1 of 3 Page ID #:3133



    1   Lincoln D. Bandlow (SBN: 170449)
        Lincoln@BandlowLaw.com
    2   Rom Bar-Nissim (SBN: 293356)
        Rom@BandlowLaw.com
    3   Law Offices of Lincoln Bandlow, P.C.
        1801 Century Park East, Suite 2400
    4   Los Angeles, CA 90067
        Telephone: 310.556.9680
    5   Facsimile: 310.861.5550
    6   Attorneys for Defendants
        Penske Media Corporation
    7   and Dirt.com, LLC
    8

    9                      UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11

   12   BRANDON VOGTS, an individual,           Case No.: 2:22-cv-01153-FWS-PVC
   13                           Plaintiff,
                                                DECLARATION OF LINCOLN
   14                                           BANDLOW IN SUPPORT OF THE
              v.                                PMC DEFENDANTS’ MOTION IN
   15
                                                LIMINE TO EXCLUDE ALL
        PENSKE MEDIA CORPORATION,               EVIDENCE AND ARGUMENT
   16   a Delaware Corporation; DIRT.COM,
        LLC, a Delaware Limited Liability       REGARDING PMC’S LICENSE
   17   Company; MOVE, INC., a Delaware         AGREEMENTS AND LICENSING
        Corporation, d/b/a Realtor.com; and     WITH THIRD-PARTIES
   18   DOES 1 through 10,
   19                                           [Concurrently-filed with Notice of
                          Defendants.           Motion; Memorandum of Points and
   20                                           Authorities; [Proposed] Order]
   21                                           Assigned to: Hon. Fred W. Slaughter
   22
                                                Date: June 15, 2023
   23                                           Time: 8:30 a.m.
   24                                           Courtroom: 10D

   25

   26

   27

   28
        BANDLOW DECLARATION ISO PMC DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
           AND ARGUMENT REGARDING PMC’S LICENSE AGREEMENTS AND LICENSING WITH THIRD-
                                           PARTIES
Case 2:22-cv-01153-FWS-PVC Document 74-2 Filed 05/11/23 Page 2 of 3 Page ID #:3134



    1                     DECLARATION OF LINCOLN BANDLOW
    2          I, Lincoln Bandlow, do hereby state and declare as follows:
    3          1.    I am an attorney at law, duly licensed to practice law in the State of
    4 California and the United States District Court for the Central District of California.

    5 I am the founder of the Law Offices of Lincoln Bandlow, P.C. and attorney of record

    6 for defendants Penske Media Corporation (“PMC”) and Dirt.com, LLC (“Dirt”)

    7 (collectively, the “PMC Defendants”) in the above referenced action. I have personal

    8 knowledge of the facts contained in this declaration and, if called and sworn as a

    9 witness, I could and would competently testify thereto. I make this declaration in
   10 support of the PMC Defendants’ Motion In Limine to Exclude All Evidence and

   11 Argument Regarding PMC’s License Agreements and Licensing With Third Parties

   12 (the “Motion”).

   13          2.    The complaint of plaintiff Brandon Vogts (“Vogts”) concerns the PMC
   14 Defendants’ alleged infringement of Vogts’ photographs (the “Subject Photographs).

   15 In light of the March 3, 2023 Joint Stipulation of Facts and the May 9, 2023

   16 conference of counsel, the parties agree that the only issues for trial are: (1) whether

   17 the PMC Defendants made a fair use of the Subject Photographs; and (2) if not, what

   18 is the number of statutory damages awards to which Vogts is entitled, whether the

   19 PMC Defendants’ infringement was willful and the amount of statutory damages to
   20 be awarded.

   21          3.    In his motion for partial summary judgment (the “MPSJ”), Vogts
   22 submitted evidence concerning PMC’s license agreements and licensing with Getty

   23 Images, the Associated Press and Shutterstock (collectively, the “PMC Licensing

   24 Agreements”). Vogts cited three agreements: (1) the July 19, 2022 announcement

   25 that PMC and Getty for PMC use of photograph’s in Getty’s collection; (2) the prior

   26 licensing agreement between PMC and the AP for PMC’s use of photographs in the

   27 AP’s collection; and (3) a licensing agreement between PMC and Shutterstock for

   28
                                              1
        BANDLOW DECLARATION ISO PMC DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
           AND ARGUMENT REGARDING PMC’S LICENSE AGREEMENTS AND LICENSING WITH THIRD-
                                           PARTIES
Case 2:22-cv-01153-FWS-PVC Document 74-2 Filed 05/11/23 Page 3 of 3 Page ID #:3135



    1 Shutterstock to license PMC owned photographs. In response, the PMC Defendants

    2 Objected to the PMC Licensing Agreements as irrelevant.

    3          4.    During the May 9, 2023, conference of counsel under Federal Rule of
    4 Civil Procedure (“F.R.C.P.”) Rule 16, counsel for the PMC Defendants discussed

    5 this Motion. Vogts’ counsel refused to refrain from mentioning, referring to, arguing

    6 about or attempting to introduce the PMC Licensing Agreements Rather, Vogts’

    7 counsel stated that this information was relevant to the fourth fair use factor and the

    8 issue of willful infringement for purposes of statutory damages.

    9          I declare under penalty of perjury that the contents of this declaration are true
   10 and correct. Executed this 11th day of May 2023 in Encino, California.

   11

   12

   13                                                  ___________________________
   14                                                         Lincoln Bandlow
   15

   16

   17

   18

   19
   20

   21

   22

   23

   24

   25

   26

   27

   28
                                              2
        BANDLOW DECLARATION ISO PMC DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
           AND ARGUMENT REGARDING PMC’S LICENSE AGREEMENTS AND LICENSING WITH THIRD-
                                           PARTIES
